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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )                 8:15CR20
                      Plaintiff,                )
                                                )
       vs.                                      )                  ORDER
                                                )
CRISPIN HERRA-HERRA,                            )
INES RIVADENEYRA-HERRERA,                       )
JOSE CONSOSPO-PEREZ, and                        )
JESUS MUNGUIA-AGUILAR,                          )
                                                )
                      Defendants.               )

        This matter is before the court on the oral motion of counsel for defendant Ines
Rivadeneyra-Herrera (Rivadeneyra-Herrera) for an extension of the pretrial motion deadline.
The motion was made during the arraignment on the Indictment on January 28, 2015. Laura
Garcia-Hein served as an interpreter in the Spanish language. Rivadeneyra-Herrera agreed
to the motion and acknowledged the additional time needed for his motion would be excluded
under the calculations under the Speedy Trial Act. The oral motion was granted. The pretrial
motion will be extended as to all defendants in this matter.


       IT IS ORDERED:
       1.     The motion for an extension of time for discovery and to file pretrial motions is
granted. The parties shall have to on or before April 17, 2015, in which to file pretrial
motions in accordance with the progression order.
        2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendants in a speedy trial. The additional time arising as
a result of the granting of the motion, i.e., from January 28, 2015, and April 17, 2015, shall
be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendants’ counsel require additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of
this case. The failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(7)(A) & (B).
        DATED this 28th day of January, 2015.
                                                   BY THE COURT:
                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
